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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


  IN RE: VALSARTAN, LOSARTAN, AND
  IRBESARTAN PRODUCTS LIABILITY                           No. 1:19-md-2875-RBK
  LITIGATION                                               Hon. Robert Kugler


  This document relates to: All Actions




        PLAINTIFFS’ RESPONSE TO DEFENDANTS’ NOTICE OF
      SUPPLEMENTAL AUTHORITY AND NOTICE OF ADDITIONAL
                  SUPPLEMENTAL AUTHORITY

       In filing their Notice of Supplemental Authority, Defendants attempt to re-

 litigate, for a third time, Rule 12(b)(6) issues. While Defendants are correct that

 standing is an “inherent prerequisite to the class certification inquiry,” they ignore

 the reality that this is a prerequisite that has already been met by the Economic Loss

 Plaintiffs (hereafter “EL Plaintiffs”).

       This Court has already found that the EL Plaintiffs alleged a cognizable injury

 to invoke Article III standing. See D.E. 775. As set forth in their Class Certification

 briefing, the EL Plaintiffs intend to submit through common factual and expert

 testimony that they suffered economic injury occurred because the Valsartan they

 purchased was “economically worthless at the point of sale by virtue of the

 dangerousness caused by their contamination, regardless of whether the sold VCDs



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 actually achieved the medical purpose of lowering blood pressure.” D.E. 775 at 20.

 Were this not enough, the Court further held that the fact that drug may have been

 medically efficacious to a Plaintiff has no bearing on the question of injury or

 standing because “contaminated drugs, even if medically efficacious for their

 purpose, cannot create a benefit of the bargain because the contaminants, and their

 dangerous effects, were never bargained for.” Id.

       Nevertheless, because Defendants raise this issue, yet again, Plaintiffs are

 compelled to attach recent supplemental authority from the 11th Circuit, which

 arrives at the same conclusion the Court arrived in in its rulings on the Defendants’

 12(b)(6) Motions to Dismiss. See Zantac (Ranitidine) Prods. Liab. Litig. Plumbers

 & Pipefitters Local Union 630 Welfare Fund. v. GlaxoSmithKline LLC, No. 21-

 10335, 2022 U.S. App. LEXIS 30823, at *10 (11th Cir. Nov. 7, 2022) (appended

 here as Exhibit A).

       In this November 7, 2022 decision, the 11th Circuit addressed the question of

 Article III standing in a case with facts more closely aligned to those before this

 Court. There, the 11th Circuit held that purchasers of ranitidine contaminated with

 NDMA suffered economic injury “because [each] made payments or

 reimbursements for a product that was economically worthless.” The theory of

 injury in the Zantac case is almost identical to the theory of injury espoused here

 (that the at-issue ranitidine contained a contaminant with a dangerous effect that was



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 never bargained for), and the 11th Circuit found that this theory was enough to satisfy

 injury in fact. Id. (citing Debernardis v. IQ Formulations, LLC, 942 F.3d 1076, 1084

 (11th Cir. 2019)).

       The First Circuit recently came to a similar conclusion in Xavier v. Evenflo

 Co. (In re Evenflo Co.), No. 22-1133, 2022 U.S. App. LEXIS 32497, at *11 (1st Cir.

 Nov. 23, 2022) (appended here as Exhibit B). There, in a case regarding defective

 car seats, the Defendants made a similar argument as the Defendants do here –

 namely, that a Plaintiff lacks standing in a situation where they are not actually

 injured by an allegedly unsafe product. Id. However, the First Circuit disagreed,

 concluding that it has “repeatedly recognized overpayment as a cognizable injury”

 and finding that this is even true in a situation where a product “performs adequately

 and does not cause any physical or emotional injury.” Id.

       The Class Certification question currently before the Court is not whether the

 EL Plaintiffs have alleged a cognizable injury to satisfy Article III standing – this

 Court has already ruled that Plaintiffs have met that prerequisite. Rather, the

 question before the Court is whether the EL Plaintiffs can present common evidence

 applicable on a class-wide basis of this injury, and whether the Class Representatives

 can adequately represent the class. As the EL Plaintiffs submit in their Class

 Certification briefing, they can and they do.




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          Consequently, Plaintiffs ask that the Court disregard Defendants’

 supplemental authority as inapplicable and not relevant to the question of Class

 Certification. 1

     Dated: December 7, 2022                          Respectfully submitted,


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   It should be noted that while the Boeing decision submitted by Defendants was heard by the 5th
 Circuit as a 23(f) appeal, the actual opinion contains actual no analysis of the factors set forth in
 Rule 23. As such, the 5th Circuit arrived at no conclusions about whether i) the plaintiffs’ case
 could be proven on a class-wide basis, ii) common issues would predominate, iii) whether a class
 trial would be manageable, or iv) whether the plaintiffs could adequately represent the class.


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                         CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of December, 2022, I caused a true and

 correct copy of the foregoing to be filed and served upon all counsel of record by

 operation of the Court’s CM/ECF system.



                                                   /s/ David J. Stanoch
                                                   David J. Stanoch




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